USCA Case #25-5057               Document #2109528             Filed: 04/07/2025      Page 1 of 2
                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 25-5037                                                      September Term, 2024
                                                                            1:25-cv-00412-RC
                                                            Filed On: April 7, 2025
Cathy A. Harris, in her personal capacity and
in her official capacity as Member of the Merit
Systems Protection Board,

                  Appellee

         v.

Scott Bessent, in his official capacity as
Secretary of the Treasury, et al.,

                  Appellants

------------------------------

Consolidated with 25-5055
------------------------------

No. 25-5057
                                                                           1:25-cv-00334-BAH
Gwynne A. Wilcox,

                  Appellee

         v.

Donald J. Trump, in his official capacity as
President of the United States and Marvin E.
Kaplan, in his official capacity as Chairman of
the National Labor Relations Board,

                  Appellants


         BEFORE:           Srinivasan, Chief Judge, and Henderson, Millett, Pillard, Wilkins,
                           Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                              ORDER

         Upon consideration of the petitions for hearing en banc, which include petitions
USCA Case #25-5057        Document #2109528             Filed: 04/07/2025      Page 2 of 2



                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________
No. 25-5037                                               September Term, 2024

for initial hearing en banc, and the absence of a request by any member of the court for
a vote on the petitions for initial hearing en banc, it is

      ORDERED that the petitions for initial hearing en banc be denied.

                                      Per Curiam


                                                        FOR THE COURT:
                                                        Clifton B. Cislak, Clerk

                                                BY:     /s/
                                                        Laura M. Morgan
                                                        Deputy Clerk




                                         Page 2
